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                                                                               U.S. j . ^ . - i o l COURT
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                               UNITED STATES DISTRICT COURT                             r IL E D
                                DISTRICT OF NEW HAMPSHIRE
                                                                               ZOIU APR 1 L| A 10= U
UNITED STATES OF AMERICA

                v.                                            No. 13-cr-28-01-SM

KURT SANBORN

                                       PLEA AGREEMENT

         Pursuant to Rule 11 (c) (1) (B) of the Federal Rules of Criminal Procedure, the United

States of America by its attorney, John P. Kacavas, the United States Attorney for the District of

New Hampshire, and the defendant, Kurt Sanborn, and the defendant's attorney, Bjom Lange,

Esq., enter into the following Plea Agreement:

1. The Plea and The Offense.

         The defendant agrees to plead guilty counts one, two, and three of the indictment which

charges him with wire fraud under 18 U.S.C. § 1343, mail fraud under 18 U.S.C. § 1343, and

bank fraud under 18 U.S.C. § 1344, respectively. In exchange for the defendant's guilty pleas,

the government agrees to the non-binding sentencing stipulations that are identified in paragraph

6 of this agreement, and to recommend that the defendant be sentenced to minimum period of

incarceration for the applicable guideline sentencing range as determined by the sentencing

court.

2. The Statutes and Elements of the Offenses.
         Title 18, United States Code, Section 1343 provides, in relevant part:

                    Whoever, having devised and intending to devise any scheme or artifice
          . . . for obtaining money . . . by means of false or fraudulent pretenses,
         representations or promises, transmits or causes to be transmitted by means of
         wire . . . communication in interstate commerce, any writings . . . for the purpose
         of executing such scheme or artifice . . . [shall be guilty of an offense].


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         The defendant understands that the offense has the following elements, each of which the

government would be required to prove beyond a reasonable doubt at trial:

                 First, the defendant knowingly and willingly participated in a scheme or

         artifice to obtain money through the use of false or fraudulent pretenses,

         representations or promises,

                  Second, the defendant acted with specific intent to defraud, and

                 Third, the scheme or artifice involved the use of interstate wire

         communications.1

         Title 18, United States Code, Section 1341 provides, in relevant part:

                  Whoever, having devised or intending to devise any scheme or artifice to
         defraud, or for obtaining money or property by means of false or fraudulent
         pretenses, representations or promises . . . [and] for the purpose of executing such
         scheme or artifice or attempting to so to do . . . places in any post office or
         authorized depository for mail matter, any matter or thing whatever to be sent or
         delivered by the Postal Service , or deposits or causes to be deposited any matter
         or thing whatever to sent or delivered by any private or commercial interstate
         carrier, or . .. knowingly causes to be delivered by mail according to the
         directions thereon .. . any such matter or thing shall be [guilty of an offense],

         The defendant understands that the mail fraud offense has the following elements, each of

which the government would be required to prove beyond a reasonable doubt:

                First, the defendant engaged in a scheme and artifice to defraud or to
         obtain money by false and fraudulent pretenses, representations or promises;

                 Second, the defendant knowingly and willfully participated in the scheme
         with the knowledge of its fraudulent nature and a specific intent to defraud; and

                Third, in execution of the scheme, the defendant used or caused the use of
         mails as specified in the Indictment.2

         Title 18, United States Code, Section 1344 provides, in relevant part:
         1
             United States v. Appolon, 2013 WL 1798339 (C.A. 1 (Mass.)) at p. 3.
2
    United States v. Hebshie, 549 F.3d 30, 35-36 (l51 Cir. 2008).

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               Whoever knowingly executes, or attempts to execute, a scheme or artifice
       to defraud or to obtain any of the moneys [or] funds .. . owned by, or under the
       custody or control of, a financial institution, by means of false or fraudulent
       pretenses, representations, or promises [shall be guilty of an offense].

       The defendant understands that the bank fraud offense has the following elements, each

of which the government would be required to prove beyond a reasonable doubt at trial:

              First, the defendant engaged in a scheme or artifice to defraud or to obtain
       money from a financial institution by means of materially false statements or
       misrepresentations;

              Second, the defendant acted knowingly and with a specific intent to
       defraud; and

              Third, at the time of the offense, the deposits of financial institution were
       insured by the Federal Deposit Insurance Corporation.

3. Offense Conduct.

       The defendant stipulates and agrees that if this case proceeded to trial, the government

would prove the following facts and those facts would establish the elements of the offense

beyond a reasonable doubt:

                                      Counts One and Two

       In May 2003, the defendant and his wife, Kimberly (from whom he is now divorced),

signed a contract to buy a home located at 1093 Union Street in Manchester, New Hampshire

('the Manchester Property"), for $569,900. Shortly after the contract was signed, the defendant

asked a business associate, Frank Catapano, for a $500,000 personal loan to buy the Manchester

Property. The defendant promised to repay the loan when a home the defendant owned in

Dunstable, New Hampshire, was sold.




3
 United States v. Moran, 312, F.3d 480 (Ist Cir. 2002); and United States v. Kenrick, 221 F.3d
19, 30 (1st Cir. 2000) (en banc), cert denied, 531 U.S. 1042 (2000)).
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       On May 20, 2003, Catapano and his brother-in-law, Paul Cucinatti, each contributed

$250,000 to the $500,000 loan. On the same day, the defendant and Kimberly signed a

promissory note that required them to repay the entire $500,000 loan before June 16, 2003, and a

$500,000 first mortgage on the Manchester property for Catapano and Cucinatti's benefit

("existing mortgage") was recorded at the Hillsborough County Registry of Deeds.

       In June 2003, the defendant told Catapano that the sale of the Dunstable home had been

delayed due to a problem with a lien on the property. As a result, Catapano and Cucinatti agreed

to extend the $500,000 loan and lease the Manchester Property to the defendant until the

Dunstable home was sold.

       On August 8, 2003, the defendant issued separate $250,000 checks to Catapano and

Cucinatti. The checks were drawn on an account that belonged to the defendant's consulting

business, The Sanborn Group, both checks were returned for insufficient funds.

       On September 30, 2003, the defendant and Kimberly signed a contract to buy a second

home in Gilford, New Hampshire, for $685,000. After that contract was signed, the defendant

hired Lynn Martin, a mortgage broker from First Call Mortgage Company, to acquire financing

for the transaction. Martin quickly determined that banks were not willing to loan money to

Kimberly due to her poor credit history.

       In approximately October 2003, Martin submitted separate applications for two loans to a

mortgage company, First Mortgage Banc ("FMB"), that was owned by First Bank, a federally

insured financial institution. One application, requested a $230,750 loan secured by a mortgage

on the Manchester Property. The other application, requested a $444,250 loan secured by a

mortgage on the Gilford property. Neither application disclosed the existing mortgage on the




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Manchester Property or the defendant's $500,000 debt to Catapano and Cucinatti, because the

defendant did not provide this information to Martin.

        The defendant's loan applications were reviewed by an FBM underwriter, Kellie

Santomassimo. Due to the defendant's unimpressive credit history the loan requests were

referred to Santomassimo's supervisor and FMB's senior vice president, Chris Anderson.

Anderson offered to finance 100% of the defendant's acquisition of the Gilford property through

a $185,000 loan secured by a first mortgage on the Manchester property and $500,000 loan

secured by a first mortgage on the Gilford property.

        Thereafter, the existing mortgage was discovered during a preliminary title search on the

Manchester Property that was conducted by a title company working for FBM. On November 3,

2003, a letter bearing Catapano's forged signature was faxed from the defendant's business

office in Newport, Rhode Island, to Martin's office in Manchester, New Hampshire. The letter

falsely states:

        To Whom It May Concern:

        Please be advised that a mortgage was executed on May 27, 2003 between Kurt
        and Kimberly Sanborn and myself on the property located at J 093 Union Street,
        Manchester, New Hampshire.

        It is my understanding that Mr. Sanborn would like to have me subordinate this
        lien in order to draw on the equity in said property.

        This letter shall serve as my intention to accommodate Mr. Sanborn's request and
        subordinate my lien on this property should a mortgage be approved on his
        behalf.

        After a copy of the forged letter was delivered to FMB, Anderson agreed to provide the

$185,000 loan secured by the Manchester Property and the $500,000 loan secured by the Gilford

Property to the defendant if the existing mortgage was discharged.




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         At 12:16 p.m. on November 24, 2003, a Discharge of Mortgage bearing Catapano and

Cucinatti's forged signatures was recorded at the Hillsborough County Registry of Deeds.

Cucinatti's name is misspelled on the document. In addition, the forged signatures of John
                                                                                                4
DeMartin (as a witness) and Elaine G. Poirier (as a Notary) appear on the last page document.

         The defendant acquired bogus evidence that Catapano and Cucinatti no longer possessed

a first mortgage security interest in the Manchester Property by causing the Hillsborough County

Registry of Deeds to mail a certified copy of the fraudulent Mortgage Discharge to his residence

in Dunstable, New Hampshire.

         After a certified copy of the fraudulent Mortgage Discharge was provided to FMB, a

$185,000 equity loan that was purportedly secured by a first mortgage on the Manchester

property was provided to the defendant by FMB on December 1, 2003. In addition, on

December 3, 2003, a $500,000 loan secured by a first mortgage on the Gilford property was

provided to the defendant by FMB on December 3, 2003.

                                           Count Three

         Acting on behalf of The Sanborn Group in February 2004, the defendant submitted an

application to Community Bank and Trust Company ("CBTC") for a two year $150,000

commercial loan. As part of the application process, on February 27, 2004, a copy of the

Warranty Deed for FMB's first mortgage on the Manchester property was provided to CBTC.

Thereafter, the defendant's application for the $150,000 loan was approved by CBTC's vice

president, Frank Teas, subject to several conditions, including CBTC's receipt of a second

mortgage on the Manchester Property. Before the loan closed, a lawyer acting on behalf of

CBTC, Patricia Mellon, conducted a title search on the Manchester property, which revealed that

FMB had a first mortgage security interest in the Manchester property.
4
    On the same day, Sanborn made a legitimate $140,000 loan payment to Cucinatti.
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         As a condition of receiving the $150,000 loan, the defendant signed and submitted a

number of documents to the bank that falsely and fraudulently concealed Catapano and

Cucinatti's security interest in the Manchester property, falsely and fraudulently reported that

FMB owned a first mortgage on the property, and, falsely and fraudulently stated that in

exchange for the $150,000, CBTC would receive a second mortgage on the Manchester property.

Relying on these material misrepresentations, the proceeds from the $150,000 loan were

disbursed to the defendant on March 19, 2004.

4. Penalties. Special Assessment and Restitution.

         The defendant understands that the maximum penalties for the offenses are:

         A. A 30 year period of imprisonment (18 U.S.C. §§ 1343, 1341 and 1344);

         B. A fine of $1,000,000 (18 U.S.C. §§ 1343, 1341 and 1344); and

         C. A five year period of supervised release (18 U.S.C. §§ 3559 (a) (5) and 3583
         (b) (3)). The defendant understands that his failure to comply with any of the
         conditions of supervised release may result in revocation of supervised release,
         requiring him to serve in prison all or part of the term of supervised release, with
         no credit for time already spent on supervised release.

         The defendant also understands that he will be required to pay a special assessment of

$300 ($100 for each count of conviction) at or before the time of sentencing; and that the Court

may order him to pay restitution to the victims of the offense, pursuant to 18 U.S.C. §§ 3663 or

3663A.

5. Sentencing and Application of the Sentencing Guidelines.

         The defendant understands that the Sentencing Reform Act of 1984 applies in this case

and that the Court is required to consider the United States Sentencing Guidelines as advisory

guidelines. The defendant further understands that he has no right to withdraw his guilty plea if




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the applicable advisory guideline range or his sentence is other than he anticipated, except as

expressly provided in this Plea Agreement.

        The defendant also understands that the United States and the United States Probation
Office shall:

       A. Advise the Court of any additional, relevant facts that are presently known or
       may subsequently come to their attention;

       B. Respond to questions from the Court;

       C. Correct any inaccuracies in the pre-sentence report;

       D. Respond to any statements made by him or his counsel to a probation officer
       or to the Court.

       The defendant understands that the United States and the Probation Office may address

the Court with respect to an appropriate sentence to be imposed in this case.

       The defendant acknowledges that any estimate of the probable sentence or the probable

sentencing range within the advisory Sentencing Guidelines that he may have received from any

source is only a prediction and not a promise, and is not binding on the United States, the

Probation Office, or the Court, except as expressly provided in this Plea Agreement.

6. Sentencing Stipulations and Agreements.

       Pursuant to Fed. R. Crim. 11(c) (1) (B), the parties agree that the amount of the loss

caused by the offenses for purposes of U.S.S.G. § 2B1.1 (b) (1) (E) is not more than $200,000.

       The defendant understands that the Court is not bound by the foregoing agreement and,

with the aid of a pre-sentence report, the court will determine the facts relevant to sentencing.

The defendant also understands that if the Court does not accept this agreement, such rejection

by the Court will not be a basis for the defendant to withdraw his guilty plea.

       The defendant understands that the government may argue that other sentencing

enhancements should be applied to this case, and he is free to object to them.

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       The parties are free to make recommendations with respect to a period of imprisonment,

a fine, conditions of probation or supervised release, and any other penalties, requirements, and

conditions of sentencing as each party may deem lawful and appropriate, unless such

recommendations are inconsistent with the terms of this Plea Agreement.

7. Acceptance of Responsibility.

       The United States agrees that it will not oppose an appropriate reduction in the

defendant's adjusted offense level, under the advisory Sentencing Guidelines, based upon the

defendant's apparent prompt recognition and affirmative acceptance of personal responsibility

for the offense. The United States, however, may oppose any adjustment for acceptance of

responsibility if the defendant:

       A. Fails to admit a complete factual basis for the plea at the time he is sentenced
       or at any other time;

       B. Challenges the United States' offer of proof at any time after the plea is
       entered;                                                                                     f

       C. Denies involvement in the offense;                                                        j

       D. Gives conflicting statements about his involvement in the offense or is                   1
       untruthful with the Court, the United States or the Probation Office;

       E. Fails to give complete and accurate information about his financial status to
       the Probation Office;

       F. Obstructs or attempts to obstruct justice, prior to sentencing;

       G. Has engaged in conduct prior to signing this Plea Agreement which
       reasonably could be viewed as obstruction or an attempt to obstruct justice, and
       has failed to fully disclose such conduct to the United States prior to signing this
       Plea Agreement;

       H. Fails to appear in court as required;

       I. After signing this Plea Agreement, engages in additional criminal conduct; or

       J. Attempts to withdraw his guilty plea.

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          The defendant understands and agrees that he may not withdraw his guilty plea if, for any

of the reasons listed above, the United States does not recommend that he receive a reduction in

his sentence for acceptance of responsibility.

          The defendant also understands and agrees that the Court is not required to reduce the

offense level if it finds that he has not accepted responsibility.

          If the defendant's offense level is sixteen or greater, and he has assisted the United States

in the investigation or prosecution of his own misconduct by timely notifying the United States

of his intention to enter a plea of guilty, thereby permitting the United States to avoid preparing

for trial and permitting the United States and the Court to allocate their resources efficiently, the

United States will move, at or before sentencing, to decrease the defendant's base offense level

by an additional one level pursuant to U.S.S.G. § 3E 1.1(b).

8. Waiver of Trial Rights and Consequences of Plea.

          The defendant understands that he has the right to be represented by an attorney at every

stage of the proceeding and, if necessary, one will be appointed to represent him. The defendant

also understands that he has the right:

          A. To plead not guilty or to maintain that plea if it has already been made;

          B. To be tried by a jury and, at that trial, to the assistance of counsel;

          C. To confront and cross-examine witnesses;

          D. Not to be compelled to provide testimony that may incriminate him; and

          E. To compulsory process for the attendance of witnesses to testify in his
          defense.

          The defendant understands and agrees that by pleading guilty he waives and gives up the

foregoing rights and that upon the Court's acceptance of his guilty plea, he will not be entitled to

atrial.

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       The defendant understands that if he pleads guilty, the Court may ask him questions

about the offense, and if he answers those questions falsely under oath, on the record, and in the

presence of counsel, his answers will be used against him in a prosecution for perjury or making

false statements.

9. Acknowledgment of Guilt: Voluntariness of Plea.

       The defendant understands and acknowledges that he:

       A. Is entering into this Plea Agreement and is pleading guilty freely and
       voluntarily because he is guilty;

       B. Is entering into this Plea Agreement without reliance upon any promise of
       benefit of any kind except as set forth in this Plea Agreement;
       C. Is entering into this Plea Agreement without threats, force, intimidation, or
       coercion;

       D. Understands the nature of the offenses to which he is pleading guilty,
       including the penalties provided by law; and

       E. Is completely satisfied with the representation and advice received from his
       undersigned attorney.

10. Scope of Agreement.

       The defendant acknowledges and understands that this Plea Agreement binds only the

undersigned parties and cannot bind any other non-party federal, state or local authority. The

defendant also acknowledges that no representations have been made to him about any civil or

administrative consequences that may result from the guilty plea. The defendant understands

such matters are solely within the discretion of the specific non-party government agency

involved. The defendant further acknowledges that this Plea Agreement has been reached

without regard to any civil tax matters that may be pending or which may arise involving the

defendant. In that regard, the defendant and the government agree that the federal civil tax




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liability that stems from the conduct underlying the offenses is a matter defendant will separately

address with the Internal Revenue Service.

11. Collateral Consequences.

       The defendant understands that as a consequence of his guilty plea he will be adjudicated

guilty and may thereby be deprived of certain federal benefits and certain rights, such as the right

to vote, to hold public office, to serve on a jury, or to possess firearms.

12. Satisfaction of Federal Criminal Liability; Breach.

       The defendant's guilty plea, if accepted by the Court, will satisfy his federal criminal

liability in the District of New Hampshire arising from his participation in the conduct that forms

the basis of the indictment in this case. The defendant understands that if, before sentencing, he

violates any term or condition of this Plea Agreement, engages in any criminal activity, or fails

to appear for sentencing, the United States may consider such conduct to be a breach of the Plea

Agreement and may withdraw therefrom.

13. Waivers.

       A. Appeal.

       The defendant understands that he has the right to challenge his guilty plea and/or

sentence on direct appeal. By entering into this Plea Agreement the defendant knowingly and

voluntarily waives his right to challenge on direct appeal:

        1.     His guilty plea and any other aspect of his conviction, including, but not
               limited to, adverse rulings on pretrial suppression motion(s) or any other
               adverse disposition of pretrial motions or issues; and

       2.      The sentence imposed by the Court if within, or lower than, the guideline
               range determined by the Court, or if it is imposed pursuant to a minimum
               mandatory sentence.




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          The defendant's waiver of his rights does not operate to waive an appeal based upon new

legal principles enunciated in Supreme Court or First Circuit case law after the date of this Plea

Agreement that have retroactive effect; or on the ground of ineffective assistance of counsel in

the negotiation of this Plea Agreement or at the sentencing hearing.

          B. Collateral Review

          The defendants understands that he may have the right to challenge his guilty plea and/or

sentence on collateral review, e.g., a motion pursuant to 28 U.S.C. §§ 2241 or 2255. By entering

into this Plea Agreement, the defendant knowingly and voluntarily waives his right to

collaterally challenge:

          1.     His guilty plea, except as provided below, and any other aspect of his
                 conviction, including, but not limited to, adverse rulings on pretrial
                 suppression motion(s) or any other adverse disposition of pretrial motions
                 or issues; and

          2.     The sentence imposed by the Court if it falls within, or lower than, the
                 guideline range as determined by the Court, or if it is imposed pursuant to
                 a minimum mandatory sentence.

          The defendant's waiver of his right to collateral review does not operate to waive a

collateral challenge to his guilty plea on the ground that it was involuntary or unknowing, or on

the ground of ineffective assistance of counsel in the negotiation of the Plea, Plea Agreement or

the sentencing hearing. The defendant's waiver of his right collateral review also does not

operate to waive a collateral challenge based on new legal principles enunciated in Supreme

Court or First Circuit case law decided after the date of this Plea Agreement that have retroactive

effect.

          C. Freedom of Information and Privacy Acts

          The defendant hereby waives all rights, whether asserted directly or through a

representative, to request or receive from any department or agency of the United States any

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records pertaining to the investigation or prosecution of the case(s) underlying this Plea

Agreement, including without limitation any records that may be sought under the Freedom of

Information Act, 5 U.S.C. §552, or the Privacy Act of 1974, 5 U.S.C. §522a.

       D. Appeal by the Government

       Nothing in this Plea Agreement shall operate to waive the rights or obligations of the

Government to pursue an appeal that is authorized by law.

14. No Other Promises.

       The defendant acknowledges that no other promises, agreements, or conditions have been

entered into other than those set forth in this Plea Agreement or revealed to the Court, and none

will be entered into unless set forth in writing, signed by all parties, and submitted to the Court.

15. Final Binding Agreement.

       None of the terms of this Plea Agreement shall be binding on the United States until this

Plea Agreement is signed by the defendant and the defendant's attorney and until it is signed by

the United States Attorney for the District of New Hampshire, or an Assistant United States

Attorney.

16. Agreement Provisions Not Severable.

       The United States and the defendant understand and agree that if any provision of this

Plea Agreement is deemed invalid or unenforceable, then the entire Plea Agreement is null and

void and no part of it may be enforced.




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                                            JOHN P. KACAVAS
                                            United States Attorney

Date:     'J'^'tj                   By:
                                            Robert M. Kinsella
                                            Assistant United States Attorney
                                            Bar No. 273315
                                            53 Pleasant St., 4th Floor
                                            Concord, NH 03301

        The defendant, Kurt Sanborn, certifies that he has read this Lvpage Plea Agreement and
that he fully understands and accepts its terms.

Date:
                                            Kurt Sanborn, Defendant

       I have read and explained this 15-page Plea Agreement to the defendant, Kurt Sanborn,
and he has advised me that he understands and accepts its terms.

Date:     7 //'//<?
                                            Bjom Lange, Esq.
                                            Attorney for Kurt Sanborn




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